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 6   Attorneys for Plaintiff/Counter-Defendant,
     WOODS & ERICKSON, LLP
 7
                               UNITED STATES BANKRUPTCY COURT
 8
                                          DISTRICT OF NEVADA
 9
     In Re:                                              Case No. BK-S-19-17282-btb
10
     ANDREW BUNKER PLATT and RUTH ANN                    Adversary Proceeding:
11   PLATT
                                                         Chapter 7
12                                 Debtor(s).
13   WOODS & ERICKSON, LLP, a Nevada Limited                    NOTICE OF REMOVAL
     Liability Partnership, d/b/a WOODS ERICKSON
14   & WHITAKER, LLP,
15                         Plaintiff,
16   vs.
17   ANDREW B. PLATT, an individual; L&S
     COUNSELORS LTD., a Nevada Limited-
18   Liability Company; GATEHOUSE
     STRATEGIES, LLC, a Nevada Limited Liability
19   Company; JOHN DOE DEFENDANTS I
     THROUGH X; and ROE ENTITIES I
20   THROUGH X,
21                         Defendants.
22   ANDREW B. PLATT, an individual; and L&S
     COUNSELORS LTD., a Nevada Limited-
23   Liability Company,
24                         Counter-Claimants,
     vs.
25
     WOODS & ERICKSON, LLP, a Nevada
26   limited liability partnership, d/b/a WOODS
     ERICKSON & WHITAKER, LLP,
27
                           Counter-Defendant.
28
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 1                                          NOTICE OF REMOVAL

 2   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3            PLEASE TAKE NOTICE that Plaintiff/Counter-Defendant, Woods & Erickson, LLP d/b/a

 4   Woods Erickson & Whitaker, LLP (“WEW”) hereby removes Case No. A-18-774926-C, pending in

 5   the Eighth Judicial District Court, State of Nevada, (the "State Court Action") to the United States

 6   Bankruptcy Court, District of Nevada, pursuant to 28 U.S.C. §§ 1334 and 1452, and Local Rule

 7   9027.

 8            The State Court Action arises from Debtor Andrew Platt’s (“Platt”) activities while an

 9   employee/limited partner of the Firm and includes claims against Platt for, amongst other things,

10   fraudulent misrepresentation and concealment and breach of fiduciary duty. Platt is an attorney that

11   worked at the Firm from August, 2007 until April 20, 2018, or for nearly eleven (11) years. Platt was

12   hired first as an associate and was later made a limited partner of the Firm on January 1, 2016. During

13   his tenure with the Firm, Platt secretly and without authorization from the Firm began to collect fees

14   outside of the Firm from individuals or entities to whom Platt provided legal services. Initially, Platt

15   wrongfully collected fees individually for services he provided to the Renaissance Academy. Later,

16   Platt formed his own law firm, L&S Counselors, Ltd., through which Platt directly and covertly

17   competed with the Firm, and to which Platt diverted clients and fees which rightfully belonged to the

18   Firm. During this time, Platt used the Firm's computers, internet, phones, equipment, staff, legal forms

19   and office space to provide legal services to clients of his new firm, all the while receiving compensation

20   from the Firm.

21            Upon removal, the Firm consents to entry of final orders and judgments by the Bankruptcy

22   Court.

23            True and correct copies of all process and pleadings filed in the State Court Action are

24   attached hereto as Exhibits 1-129.

25                                                EXHIBIT LIST

26
      Exhibit 1        Complaint
27
      Exhibit 2        Initial Appearance Fee Disclosure
28
      Exhibit 3        Summons (Gatehouse Strategies, LLC)

                                                          2
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 1   Exhibit 4    Summons (Andrew B. Platt)
 2   Exhibit 5    Summons (L&S Counselors)

 3   Exhibit 6    Proof of Service (Andrew B. Platt, an Individual)
     Exhibit 7    Proof of Service (L&S Counselors Ltd.)
 4
     Exhibit 8    Affidavit of Process Server Re: Gatehouse Strategies, LLC, a Nevada Limited
 5                Liability Company
 6   Exhibit 9    Peremptory Challenge of Judge

 7   Exhibit 10   Initial Appearance Fee Disclsoure
     Exhibit 11   Answer and Counterclaim
 8
     Exhibit 12   Defendant Gatehouse Strategies LLLP’s Answer to Complaint
 9
     Exhibit 13   Initial Appearance Fee Disclosure
10
     Exhibit 14   Notice of Department Reassignment
11   Exhibit 15   Reply to Counterclaim
12   Exhibit 16   Plaintiff’s Petition for Exemption from Arbitration
13   Exhibit 17   Commissioner’s Decision on Request for Exemption - GRANTED

14   Exhibit 18   Demand for Jury Trial
     Exhibit 19   Joint Case Conference Report
15
     Exhibit 20   Stipulated Protective Order
16
     Exhibit 21   Notice of Entry of Stipulated Protective Order
17
     Exhibit 22   Joint Case Conference Report
18   Exhibit 23   Scheduling Order
19   Exhibit 24   Order Setting Civil Jury Trial
20   Exhibit 25   Stipulation and Order to Extend Discovery and Continue Trial (First Request)
21   Exhibit 26   Notice of Entry of Stipulation and Order to Extend Discovery and Continue Trial
                  (First Request)
22   Exhibit 27   First Amended Order Setting Civil Jury Trial
23   Exhibit 28   Motion to Withdraw Admissions Pursuant to NRCP 36(b)
24   Exhibit 29   Opposition to Motion to Withdraw Admissions
25   Exhibit 30   Stipulation and Order to Extend Discovery Deadlines Without Affecting Trial
                  Date (Second Request)
26
     Exhibit 31   Notice of Entry of Stipulation and Order to Extend Discovery Deadlines Without
27                Affecting Trial Date (Second Request)
     Exhibit 32   Motion to Strike/Withdraw Pleading from the Record
28


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     Exhibit 33   Notice of Hearing
 1
     Exhibit 34   Reply in Support of Motion to Withdraw Admissions Pursuant to NRCP 36(b)
 2
     Exhibit 35   Minute Order Re: Plaintiff’s Motion to Withdraw Admissions
 3
     Exhibit 36   Motion for Leave to Amend Answer and Counterclaim
 4   Exhibit 37   Stipulation and Order to Extend Expert Disclosures Deadlines and Allow for
                  Deposition of Rebuttal Experts After the Close of Discovery
 5
     Exhibit 38   Stipulation and Order to Extend Expert Disclosure Deadlines and Allow for
 6                Deposition of Rebuttal Experts After the Close of Discovery
 7   Exhibit 39   Order on Motion to Withdraw Admissions Pursuant to NRCP 36(b)

 8   Exhibit 40   Notice of Entry of Stipulation and Order to Extend Expert Disclosure Deadlines
                  and Allow for Deposition of Rebuttal Experts After the Close of Discovery (Third
 9                Request)
     Exhibit 41   Notice of Entry of Order on Motion to Withdraw Admissions Pursuant to NRCP
10                36(b)
11   Exhibit 42   Notice of Hearing
12   Exhibit 43   Minute Order Re: Defendants’ Motion to Strike

13   Exhibit 44   Motion to Compel Discovery
     Exhibit 45   Notice of Hearing
14
     Exhibit 46   Minute Order Re: Motion to Compel Discovery
15
     Exhibit 47   Notice of Hearing Regarding Motion to Compel Discovery
16
     Exhibit 48   Notice of Hearing
17   Exhibit 49   Minute Order Re: Defendants’ Motion to Amend Answer and Counterclaim
18   Exhibit 50   Notice of Entry of Order Granting Motion to Strike/Withdraw Pleading from the
                  Record
19
     Exhibit 51   Opposition to Motion to Compel Discovery
20
     Exhibit 52   Stipulation and Order to Amend Complaint and Caption to Correct the Name of
21                Gatehouse Strategies, LLLP
     Exhibit 53   Notice of Entry of Stipulation and Order to Amend Complaint and Caption to
22                Correct the Name of Gatehouse Strategies, LLLP
23   Exhibit 54   Order Granting Motion for Leave to Amend Answer and Counterclaim
24   Exhibit 55   First Amended Complaint
25   Exhibit 56   Notice of Entry of Order Granting Motion for Leave to Amend Answer and
                  Counterclaim
26   Exhibit 57   Order Granting Motion to Strike/Withdraw Pleading from the Record
27   Exhibit 58   Amended Answer and Counterclaim
28   Exhibit 59   Proof of Service of Subpoena Duces Tecum Upon Dennis Kennedy


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     Exhibit 60   Motion to Extend Discovery and Trial (Fourth Request)
 1
     Exhibit 61   Reply in Support of Motion to Compel Discovery
 2
     Exhibit 62   Notice of Hearing
 3
     Exhibit 63   Application for Order Shortening Time re Defendants’ Motion to Extend
 4                Discovery and Trial
     Exhibit 64   Notice of Entry of Order
 5
     Exhibit 65   Receipt of Copy of Order Shortening Time
 6
     Exhibit 66   Opposition to Motion to Extend Discovery and Trial
 7
     Exhibit 67   Reply to Plaintiffs Opposition to Motion to Extend Discovery and Trial
 8   Exhibit 68   Answer to Counterclaim
 9   Exhibit 69   Order Setting Settlement Conference
10   Exhibit 70   Order Re: Defendants’ Motion to Extend Discovery and Trial

11   Exhibit 71   Notice of Entry of Order Re: Defendants’ Motion to Extend Discovery Trial
     Exhibit 72   Notice to Appear for Discovery Conference
12
     Exhibit 73   Motion for Summary Judgment
13
     Exhibit 74   Appendix of Exhibits to Motion for Summary Judgment - FILED UNDER SEAL
14
     Exhibit 75   Certificate of Service
15   Exhibit 76   Notice of Hearing
16   Exhibit 77   Redacted version of Appendix removing and sealing Exhibits 1-25 per Order
                  8/26/19
17
     Exhibit 78   Discovery Commissioner’s Report and Recommendations
18
     Exhibit 79   Notice of Change of Address and Contact Numbers
19   Exhibit 80   Motion for Summary Judgment Pursuant to NRCP 56
20   Exhibit 81   Notice of Hearing
21   Exhibit 82   Opposition to Motion for Summary Judgment and Countermotion for Partial
                  Summary Judgment
22
     Exhibit 83   Motion to Seal Exhibits to Opposition to Motion for Summary Judgment, and
23                Countermotion for Partial Summary Judgment
     Exhibit 84   Notice of Hearing
24
     Exhibit 85   Exhibits to Opposition to motion for Summary Judgment, and Countermotion for
25                Partial Summary Judgment - FILED UNDER SEAL
26   Exhibit 86   Order Affirming Discovery Commissioner’s Report and Recommendation
27   Exhibit 87   Notice of Entry of Order

28   Exhibit 88   Ex-Parte Application and Order to Seal Exhibits


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 1   Exhibit 89    Stipulation and Order to Dismiss Gatehouse Strategies, LLLP

 2   Exhibit 90    Notice of Entry of Ex-Parte Application and Order to Seal Exhibits
     Exhibit 91    Notice of Entry of Stipulation and Order to Dismiss Gatehouse Strategies, LLLP
 3
     Exhibit 92    Reply in Support of Motion for Summary Judgment
 4
     Exhibit 93    Continued Appendix of Exhibits to Motion for Summary Judgment and
 5                 Supporting Reply

 6   Exhibit 94    Opposition to Defendants Countermotion for Partial Summary Judgment
     Exhibit 95    Stipulation and Order to Amend Answer & Counterclaim
 7
     Exhibit 96    Notice of Entry of Stipulation and Order
 8
     Exhibit 97    Second Amended Answer and Counterclaim
 9
     Exhibit 98    Minute Order Re: Defendant Gatehouse Strategies LLP's Motion for Summary
10                 Judgment Pursuant to NRCP 56
     Exhibit 99    Reply in Support of Countermotion for Partial Summary Judgment
11
     Exhibit 100   Order Granting Motion to Seal Exhibits
12
     Exhibit 101   Notice of Entry of Order
13
     Exhibit 102   Transcript of Hearing: Plaintiff's Motion for Summary Judgment Opposition to
14                 Motion for Summary Judgment and Countermotion for Partial Summary
                   Judgment, September 11, 2019
15   Exhibit 103   Motion in Limine to Preclude Expert Witness Testimony of Dennis Kennedy
16   Exhibit 104   Motion in Limine to Exclude Succession Documents
17   Exhibit 105   Notice of Hearing

18   Exhibit 106   Notice of Hearing
     Exhibit 107   Omnibus Motion In Limine
19
     Exhibit 108   Appendix of Exhibits to Omnibus Motion in Limine
20
     Exhibit 109   Motion to Seal Exhibits to Omnibus Motion in Limine
21
     Exhibit 110   Notice of Hearing
22   Exhibit 111   Notice of Change of Hearing
23   Exhibit 112   Opposition to Motion in Limine to Exclude Succession Documents
24   Exhibit 113   Appendix of Exhibits to Opposition to Motion in Limine to Exclude Succession
                   Documents
25
     Exhibit 114   Motion to Seal Exhibits to Opposition to Motion in Limine to Exclude Succession
26                 Documents
     Exhibit 115   Opposition to Motion in Limine to Preclude Expert Witness Testimony of Dennis
27                 Kennedy
28


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 1   Exhibit 116   Appendix of Exhibits to Opposition to Motion in Limine to Preclude Expert
                   Witness Testimony of Dennis Kennedy
 2   Exhibit 117   Motion to Seal Exhibits to Opposition to Motion in Limine to Preclude Expert
 3                 Witness Testimony of Dennis Kennedy
     Exhibit 118   Defendants’ Opposition to Plaintiff’s Omnibus Motion in Limine
 4
     Exhibit 119   Motion to Seal Exhibits to Defendants’ Opposition to Plaintiff’s Omnibus Motion
 5                 in Limine
 6   Exhibit 120   Notice of Hearing

 7   Exhibit 121   Defendants’ Opposition to Plaintiff’s Omnibus Motion in Limine - FILED
                   UNDER SEAL
 8   Exhibit 122   Defendant/Counterclaimants’ Objections to Plaintiff/Counterdefendant’s NRCP
                   Rule 16.1(a)(3) Pretrial Disclosures
 9
     Exhibit 123   Objection to Plaintiff/Counterdefendant’s NRCP 16.1(a)(3) Pretrial Disclosures
10
     Exhibit 124   Reply in Support of Motion in Limine to Exclude Succession Documents
11
     Exhibit 125   Reply in Support of Motion in Limine to Preclude Expert Witness Testimony of
12                 Dennis Kennedy
     Exhibit 126   Minute Order Re: Motion to Seal/Redact Records
13
     Exhibit 127   Notice of Bankruptcy
14
     Exhibit 128   Order Denying Plaintiff’s Motion for Summary Judgment and Defendant’s
15                 Countermotion for Partial Summary Judgment

16   Exhibit 129   Substitution of Attorney

17        Dated this 13th day of December, 2019.
                                                       GERRARD COX LARSEN
18
19                                                     /s/ Douglas D. Gerrard, Esq.
                                                       Douglas D. Gerrard, Esq.
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